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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

TEXAS LEAGUE OF UNITED LATIN                      §
AMERICAN CITIZENS, NATIONAL                       §
LEAGUE OF UNITED LATIN AMERICAN                   §
CITIZENS, LEAGUE OF WOMEN VOTERS                  §
OF TEXAS, RALPH EDELBACK, and                     §
BARBARA MASON,                                    §
                                                  §
                 Plaintiffs,                      §
                                                  §
v.                                                §                    1:20-CV-1006-RP
                                                  §
GREG ABBOTT, in his official capacity as          §
Governor of Texas, RUTH HUGHS, in her             §
official capacity as Texas Secretary of State,    §
DANA DEBEAUVOIR, in her official capacity §
as Travis County Clerk, CHRIS HOLLINS, in         §
his official capacity as Harris County Clerk, and §
JOHN M. OLDHAM, in his official capacity as §
Fort Bend County Elections Administrator,         §
                                                  §
                                                  §
                 Defendants.                      §

                                              ORDER

       Before the Court is Defendants’ Motion to Strike. (Dkt. 42). Defendants object to certain

exhibits filed by Plaintiffs attached to their motion for temporary restraining order and preliminary

injunction.

       Defendant objects to and moves the Court to strike statements made in the declarations

submitted by Plaintiffs in support of their motion for temporary restraining order and preliminary

injunction, (Dkt. 15). (Id.). For each of the scores of statements to which Defendant objects,

Defendant lists numerous objections (e.g. “lack of personal knowledge,” “lacks foundation,” etc.) in

a table, but provides no further explanation or argument. The Court finds this perfunctory analysis

to be unpersuasive and insufficient to warrant striking a significant amount of relevant declaration

testimony from the preliminary injunction record.

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        Moreover, having reviewed the declarations, the Court is convinced that the statements are

appropriately considered. “An affidavit or declaration used to support or oppose a motion must be

made on personal knowledge, set out facts that would be admissible in evidence, and show that the

affiant or declarant is competent to testify on the matters stated.” Fed. R. Civ. P. 56(c)(4). Plaintiffs’

declarations are clearly based on their personal knowledge of their own experiences and on matters

on which the Plaintiffs and declarants are all competent to testify. The declarations are sufficiently

specific and contain adequate supporting context. Thus, the Court concludes Defendant’s objections

should be overruled and its motion to strike should be denied.

        Accordingly, IT IS ORDERED that Defendants Motion to Strike, (Dkt. 42), is DENIED.

         SIGNED on October 9, 2020.


                                                 _____________________________________
                                                 ROBERT PITMAN
                                                 UNITED STATES DISTRICT JUDGE




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